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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AMERICAN FEDERATION OF LABOR AND
 CONGRESS OF INDUSTRIAL
 ORGANIZATIONS,

              Plaintiff,

 v.                                                     Civil Case No. 20-cv-0675-KBJ

 NATIONAL LABOR RELATIONS BOARD,

              Defendant.



                         CERTIFICATE OF SERVICE FOR
                      MOTION FOR PRELIMINARY INJUNCTION

       On March 10, 2020, I caused Plaintiff’s motion for a preliminary injunction and

supporting documents, ECF No. 3, to be served on Defendant National Labor Relations Board

and the United States Attorney General by personal service. See Summons Returned Executed as

to Federal Defendant, ECF No. 4; Summons Returned Executed as to U.S. Attorney General,

ECF No. 5. On March 13, 2020, I caused them to be served on the United States Attorney’s

Office for the District of Columbia by personal service. See Summons Returned Executed as to

United States Attorney, ECF No. 16.

Dated: March 16, 2020                       Respectfully Submitted,

                                            /s/ Leon Dayan_____________
                                            Leon Dayan (D.C. Bar No. 444144)
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